                             Case 8:21-bk-04431-MGW                       Doc 1       Filed 08/26/21          Page 1 of 65

 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Middle District of Florida          (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Michael
                                        __________________________________________________            Leah
                                                                                                     __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          J
                                        __________________________________________________            M
                                                                                                     __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Horsley
                                        __________________________________________________            Horsley
                                                                                                     __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           8    1    2    0                                        1    2    9    1
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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               Michael J Horsley & Leah M Horsley
Debtor 1        _______________________________________________________                                  Case number (if known)_____________________________________
                First Name    Middle Name               Last Name




                                            About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                           
                                            ✔ I have not used any business names or EINs.                     
                                                                                                              ✔ I have not used any business names or EINs.

     Identification Numbers
     (EIN) you have used in                 _________________________________________________                 _________________________________________________
     the last 8 years                       Business name                                                     Business name

     Include trade names and
                                            _________________________________________________                 _________________________________________________
     doing business as names                Business name                                                     Business name



                                            _________________________________________________                 _________________________________________________
                                            EIN                                                               EIN

                                            _________________________________________________                 _________________________________________________

                                            EIN                                                               EIN



5.   Where you live                                                                                           If Debtor 2 lives at a different address:


                                            9606 Rainbow Lane                                                 12020 Palomar
                                            _________________________________________________                 _________________________________________________
                                            Number     Street                                                 Number     Street


                                            _________________________________________________                 _________________________________________________


                                            Port Richey                             FL
                                            _________________________________________________
                                                                                              34668            Brooksville                          FL        34609
                                                                                                              _________________________________________________
                                            City                            State   ZIP Code                  City                            State   ZIP Code

                                            Pasco County                                                       Hernando County
                                            _________________________________________________                 _________________________________________________
                                            County                                                            County


                                            If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                            above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                       any notices to this mailing address.


                                            _________________________________________________                 _________________________________________________
                                            Number     Street                                                 Number     Street

                                            _________________________________________________                 _________________________________________________
                                            P.O. Box                                                          P.O. Box

                                            _________________________________________________                 _________________________________________________
                                            City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                   Check one:                                                        Check one:
     this district to file for
     bankruptcy                             
                                            ✔ Over the last 180 days before filing this petition, I           
                                                                                                              ✔ Over the last 180 days before filing this petition, I
                                                  have lived in this district longer than in any other           have lived in this district longer than in any other
                                                  district.                                                      district.

                                             I have another reason. Explain.                                  I have another reason. Explain.
                                                  (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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                 Michael J Horsley & Leah M Horsley
 Debtor 1         _______________________________________________________                             Case number (if known)_____________________________________
                  First Name    Middle Name             Last Name




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the                     Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                    for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                              
                                              ✔
                                                Chapter 7
                                               Chapter 11
                                               Chapter 12
                                               Chapter 13

 8.    How you will pay the fee               
                                              ✔
                                                I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                 local court for more details about how you may pay. Typically, if you are paying the fee
                                                 yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                 submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                 with a pre-printed address.

                                               I need to pay the fee in installments. If you choose this option, sign and attach the
                                                 Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                               I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                 less than 150% of the official poverty line that applies to your family size and you are unable to
                                                 pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                 Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for          
                                   ✔ No
       bankruptcy within the
       last 8 years?                Yes.        District ____________________________________________ When ______________ Case number __________________


                                                 District ____________________________________________ When ______________ Case number __________________


                                                 District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                   Debtor _________________________________________________                         R elationship to you ___________________________

                                   District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                        No.    Go to line 12.
       residence?                             
                                              ✔ Yes.   Has your landlord obtained an eviction judgment against you?


                                                        
                                                        ✔   No. Go to line 12.
                                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                            this bankruptcy petition.




       Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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                Michael J Horsley & Leah M Horsley
Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

                                                If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                                
                                                ✔ No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                                   No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                         the Bankruptcy Code.
      For a definition of small
      business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any                    
                                                ✔ No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property?




      Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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               Michael J Horsley & Leah M Horsley
Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             ✔ I received a briefing from an approved credit                    
                                                                                                                ✔ I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




       Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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                Michael J Horsley & Leah M Horsley
Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                      No. Go to line 16b.
                                                   
                                                   ✔   Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                      No. Go to line 16c.
                                                      Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17.   Are you filing under
      Chapter 7?                               No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                    50-99                                     5,001-10,000                           50,001-100,000
      owe?                                     100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19.   How much do you                         
                                              ✔ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities               
                                              ✔ $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                   $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Michael J Horsley
                                                 ______________________________________________               _____________________________
                                                                                                                /s/ Leah M Horsley
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    08/26/2021                                                 08/26/2021
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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               Michael J Horsley & Leah M Horsley
Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Cedric Hay                                                    Date          _________________
                                                                                                                                08/26/2021
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Cedric Hay
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Cedric Hay
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 12300 Us Hwy 19
                                                _________________________________________________________________________________________________
                                                Number Street

                                                _________________________________________________________________________________________________

                                                 Hudson                                                          FL            34667
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone (727)  868-2306
                                                               ______________________________        Email address
                                                                                                                     cphay@beilandhay.com
                                                                                                                     _________________________________________



                                                 0722510                                                         FL
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Michael J Horsley
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2
                     Leah M Horsley
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Middle District of Florida District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 9,155.01
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 9,155.01
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 16,750.93
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 38,184.16
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 54,935.09
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 4,696.20
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 6,081.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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                  Michael Horsley & Leah Horsley
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,394.92
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                   Case 8:21-bk-04431-MGW                                            Doc 1              Filed 08/26/21                        Page 10 of 65


Fill in this information to identify your case and this filing:

                    Michael J Horsley
Debtor 1
                    First Name                Middle Name                 Last Name

Debtor 2              Leah M Horsley
(Spouse, if filing)   First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: Middle District of
Florida
                                                                                                                                                                                                          Check if this is
Case number                                                                                                                                                                                               an amended
(if know)
                                                                                                                                                                                                          filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                               12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
   3.1 Make:Dodge                                                                Who has an interest in the property? Check
                                                                                                                                                               Do not deduct secured claims or exemptions. Put the
                                                                                 one
            Model:Journey                                                                                                                                      amount of any secured claims onSchedule D:
                                                                                      Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2012
                                                                                      Debtor 2 only
            Approximate mileage: 120000                                                                                                                          Current value of the Current value of the
                                                                                      Debtor 1 and Debtor 2 only                                                 entire property?     portion you own?
               Other information:
                                                                                      At least one of the debtors and another                                    $ 3,000.00                            $ 3,000.00
              Condition:Fair;
                                                                                     Check if this is community property (see
                                                                                 instructions)

   3.2 Make:Toyota                                                               Who has an interest in the property? Check
                                                                                                                                                               Do not deduct secured claims or exemptions. Put the
                                                                                 one
            Model:Camry                                                                                                                                        amount of any secured claims onSchedule D:
                                                                                      Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2001
                                                                                      Debtor 2 only
            Approximate mileage: 105000                                                                                                                          Current value of the Current value of the
                                                                                      Debtor 1 and Debtor 2 only                                                 entire property?     portion you own?
               Other information:
                                                                                      At least one of the debtors and another                                    $ 1,200.00
              Condition:Fair;                                                                                                                                                                          $ 1,200.00
                                                                                     Check if this is community property (see
                                                                                 instructions)

 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 4,200.00


Part 3:        Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                 portion you own?

                                                                                                                                                                                                                    page 1 of 5
                                   Case 8:21-bk-04431-MGW                                             Doc 1              Filed 08/26/21                        Page 11 of 65
Debtor 1          Michael J Horsley & Leah M Horsley                                                                                                              Case number(if known)
                First Name          Middle Name          Last Name




  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
        Examples: Major appliances, furniture, linens, china, kitchenware
             No
             Yes. Describe...

        Miscellaneous household belongings                                                                                                                                                           $ 500.00
  7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                  collections; electronic devices including cell phones, cameras, media players, games

             No
             Yes. Describe...
  8. Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

             No
             Yes. Describe...

        Hummels                                                                                                                                                                                      $ 200.00
  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...
  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...

        Shotgun                                                                                                                                                                                      $ 200.00
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        Miscellaneous clothing
                                                                                                                                                                                                     $ 275.00
        Miscellaneous clothing
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

        Wedding rings                                                                                                                                                                                $ 475.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤          $ 1,650.00



 Part 4:       Describe Your Financial Assets




                                                                                                                                                                                                                page 2 of 5
                                   Case 8:21-bk-04431-MGW                                                  Doc 1                Filed 08/26/21                 Page 12 of 65
Debtor 1        Michael J Horsley & Leah M Horsley                                                                                                                Case number(if known)
              First Name            Middle Name           Last Name




 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.
  16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

           No
           Yes..............................................................................................................................................   Cash ...........................    $ 10.00
  17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

           No
           Yes..................                                   Institution name:
       17.1. Checking account:                                    USAA                                                                                                                             $ 100.00

       17.2. Checking account:                                    Bank of America                                                                                                                  $ 100.00

       17.3. Savings account:                                     Savings account with USAA                                                                                                        $ 0.01

       17.4. Savings account:                                     Andrews FCU                                                                                                                      $ 5.00

  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
       Type of account                        Institution name
       401(k) or similar plan:                401K Merril Lynch                                                                                                                                   $ 1,640.00
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................           Institution name or individual:
       Security deposit on rental unit                    Security Deposit                                                                                                                        $ 1,450.00
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
           Yes. Give specific information about them...


                                                                                                                                                                                                               page 3 of 5
                                   Case 8:21-bk-04431-MGW                                             Doc 1              Filed 08/26/21                        Page 13 of 65
Debtor 1          Michael J Horsley & Leah M Horsley                                                                                                              Case number(if known)
                First Name          Middle Name          Last Name




  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                                                    Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                                                              Federal:                             $ 0.00
                                                                                                                                                              State:                               $ 0.00
                                                                                                                                                              Local:                               $ 0.00

  29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤          $ 3,305.01


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:        If you own or have an interest in farmland, list it in Part 1.




                                                                                                                                                                                                                page 4 of 5
                                       Case 8:21-bk-04431-MGW                                                 Doc 1                Filed 08/26/21                               Page 14 of 65
Debtor 1            Michael J Horsley & Leah M Horsley                                                                                                                             Case number(if known)
                  First Name            Middle Name           Last Name




  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                        $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                        $ 0.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 4,200.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 1,650.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 3,305.01
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                     $ 9,155.01                           Copy personal property total➤          +$
                                                                                                                                                                                                                9,155.01
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                         $ 9,155.01




                                                                                                                                                                                                                     page 5 of 5
                                  Case 8:21-bk-04431-MGW                  Doc 1              Filed 08/26/21              Page 15 of 65

 Fill in this information to identify your case:

                     Michael J Horsley
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Middle District of Florida District of __________
                                                                                   (State)
 Case number
  (If known)
                     ___________________________________________                                                                                   Check if this is an
                                                                                                                                                       amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                              4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                       Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                            exemption you claim
        Debtor 1 Exemptions
                                                          Copy the value from                        Check only one box
                                                          Schedule A/B                               for each exemption
                 2012 Dodge Journey                                                                                                 Fla. Stat. Ann. § 222.25(4)
 Brief
 description:
                                                                  3,000.00
                                                                 $________________             
                                                                                               ✔ $ ____________
                                                                                                   1,059.99
                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:        3.1
                 2012 Dodge Journey                                                                                                 Fla. Stat. Ann. § 222.25 (1)
 Brief
 description:                                                    $________________
                                                                   3,000.00                     $ ____________
                                                                                               ✔   970.01
                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:         3.1
                 2001 Toyota Camry                                                                                                  Fla. Stat. Ann. § 222.25(4)
 Brief
 description:                                                    $________________
                                                                   1,200.00                    
                                                                                               ✔ $ ____________
                                                                                                   600.00
                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:           3.2

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                                 4
                                                                                                                                                             page 1 of __
                          Case 8:21-bk-04431-MGW Doc 1                                   Filed 08/26/21             Page 16 of 65
Debtor           Michael J Horsley
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                               Amount of the                        Specific laws that allow exemption
                                                                      Current value of the   exemption you claim
         on Schedule A/B that lists this property                     portion you own
                                                                     Copy the value from    Check only one box
                                                                      Schedule A/B           for each exemption
               Household goods - Miscellaneous household belongings                                                                Fla. Const. Art.10, § 4(a) (2)
Brief
description:
                                                                       500.00
                                                                      $________________         250.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          6
               Collectibles of value - Hummels                                                                                     Fla. Const. Art.10, § 4(a) (2)
Brief
description:                                                          $________________
                                                                       200.00                
                                                                                             ✔ $ ____________
                                                                                                 100.00
                                                                                              100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:         8
               Firearms - Shotgun                                                                                                  Fla. Const. Art.10, § 4(a) (2)
Brief
description:                                                          $________________
                                                                       200.00                
                                                                                             ✔ $ ____________
                                                                                                 100.00
                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         10
               Clothing - Miscellaneous clothing                                                                                   Fla. Const. Art.10, § 4(a) (2)
Brief
description:                                                          $________________
                                                                       75.00                 
                                                                                             ✔ $ ____________
                                                                                                 75.00
                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         11
               Jewelry - Wedding rings                                                                                             Fla. Stat. Ann. § 222.25(4)
Brief
description:                                                          $________________
                                                                       475.00                   37.50
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         12
               Jewelry - Wedding rings                                                                                             Fla. Const. Art.10, § 4(a) (2)
Brief
description:
                                                                       475.00
                                                                      $________________         200.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         12
               Cash (Cash On Hand)                                                                                                 Fla. Stat. Ann. § 222.25(4)
Brief
description:
                                                                       10.00
                                                                      $________________         5.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:        16
               USAA (Checking)                                                                                                     Fla. Stat. Ann. § 222.25(4)
Brief
description:                                                          $________________
                                                                       100.00                
                                                                                             ✔ $ ____________
                                                                                                 50.00
                                                                                              100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:         17.1
               Bank of America (Checking)                                                                                          Fla. Stat. Ann. § 222.25(4)
Brief
description:
                                                                       100.00
                                                                      $________________       $ ____________
                                                                                             ✔   50.00
                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         17.2
               Savings account with USAA (Savings)                                                                                 Fla. Stat. Ann. § 222.25(4)
Brief
description:
                                                                       0.01
                                                                      $________________       $ ____________
                                                                                             ✔   0.01
                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:        17.3
               Andrews FCU (Savings)                                                                                               Fla. Stat. Ann. § 222.25(4)
Brief
description:                                                          $________________
                                                                       5.00                  
                                                                                             ✔ $ ____________
                                                                                                 2.50
                                                                                              100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:        17.4
               401K Merril Lynch                                                                                                   Fla. Stat. Ann. § 222.21 (2)
Brief
description:
                                                                       1,640.00
                                                                      $________________         820.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:           21


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     2
                                                                                                                                                     page ___ of __ 4
                          Case 8:21-bk-04431-MGW Doc 1                            Filed 08/26/21            Page 17 of 65
Debtor           Michael J Horsley
                _______________________________________________________                    Case number (if known)_____________________________________
                First Name      Middle Name     Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                        Amount of the                       Specific laws that allow exemption
                                                               Current value of the   exemption you claim
         on Schedule A/B that lists this property              portion you own
                                                              Copy the value from    Check only one box
                                                               Schedule A/B           for each exemption
               (Security Deposits)                                                                                         Fla. Stat. Ann. § 222.25(4)
Brief
description:
                                                                 1,450.00
                                                                $________________        725.00
                                                                                      ✔ $ ____________

                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:           22

Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:


 Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                 3     4
                                                                                                                                            page ___ of __
                                  Case 8:21-bk-04431-MGW                     Doc 1              Filed 08/26/21              Page 18 of 65

 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2            Leah M Horsley
                     ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


                                         ______________________
 United States Bankruptcy Court for the: Middle District of Florida District of __________
                                                                                      (State)
 Case number
  (If known)
                     ___________________________________________                                                                                       Check if this is an
                                                                                                                                                          amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                   4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the                       Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own                            exemption you claim
        Debtor 2 Exemptions
                                                             Copy the value from                        Check only one box
                                                             Schedule A/B                               for each exemption
                 2012 Dodge Journey                                                                                                    Fla. Stat. Ann. § 222.25 (1)
 Brief
 description:
                                                                     3,000.00
                                                                    $________________             
                                                                                                  ✔ $ ____________
                                                                                                      970.01
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:        3.1
                 2001 Toyota Camry                                                                                                     Fla. Stat. Ann. § 222.25(4)
 Brief
 description:                                                       $________________
                                                                      1,200.00                     $ ____________
                                                                                                  ✔   600.00
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:         3.2
                 Household goods - Miscellaneous household                                                                             Fla. Const. Art.10, § 4(a) (2)
 Brief
 description:
                 belongings                                         $________________
                                                                      500.00                      
                                                                                                  ✔ $ ____________
                                                                                                      250.00
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                                  4
                                                                                                                                                                 page 1 of __
                          Case 8:21-bk-04431-MGW Doc 1                                 Filed 08/26/21             Page 19 of 65
Debtor           Leah M Horsley
                _______________________________________________________                          Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                             Amount of the                        Specific laws that allow exemption
                                                                    Current value of the   exemption you claim
         on Schedule A/B that lists this property                   portion you own
                                                                   Copy the value from    Check only one box
                                                                    Schedule A/B           for each exemption
               Collectibles of value - Hummels                                                                                   Fla. Const. Art.10, § 4(a) (2)
Brief
description:
                                                                      200.00
                                                                     $________________        100.00
                                                                                           ✔ $ ____________

                                                                                            100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         8
               Firearms - Shotgun                                                                                                Fla. Const. Art.10, § 4(a) (2)
Brief
description:                                                         $________________
                                                                      200.00               
                                                                                           ✔ $ ____________
                                                                                               100.00
                                                                                            100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:         10
               Clothing - Miscellaneous clothing                                                                                 Fla. Const. Art.10, § 4(a) (2)
Brief
description:                                                         $________________
                                                                      200.00               
                                                                                           ✔ $ ____________
                                                                                               200.00
                                                                                            100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         11
               Jewelry - Wedding rings                                                                                           Fla. Stat. Ann. § 222.25(4)
Brief
description:                                                         $________________
                                                                      475.00               
                                                                                           ✔ $ ____________
                                                                                               37.50
                                                                                            100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         12
               Jewelry - Wedding rings                                                                                           Fla. Const. Art.10, § 4(a) (2)
Brief
description:                                                         $________________
                                                                      475.00                  200.00
                                                                                           ✔ $ ____________

                                                                                            100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         12
               Cash (Cash On Hand)                                                                                               Fla. Stat. Ann. § 222.25(4)
Brief
description:
                                                                      10.00
                                                                     $________________        5.00
                                                                                           ✔ $ ____________

                                                                                            100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:        16
               USAA (Checking)                                                                                                   Fla. Stat. Ann. § 222.25(4)
Brief
description:
                                                                      100.00
                                                                     $________________        50.00
                                                                                           ✔ $ ____________

                                                                                            100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         17.1
               Bank of America (Checking)                                                                                        Fla. Stat. Ann. § 222.25(4)
Brief
description:                                                         $________________
                                                                      100.00               
                                                                                           ✔ $ ____________
                                                                                               50.00
                                                                                            100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:         17.2
               Savings account with USAA (Savings)                                                                               Fla. Stat. Ann. § 222.25(4)
Brief
description:
                                                                      0.01
                                                                     $________________      $ ____________
                                                                                           ✔   0.01
                                                                                            100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:        17.3
               Andrews FCU (Savings)                                                                                             Fla. Stat. Ann. § 222.25(4)
Brief
description:
                                                                      5.00
                                                                     $________________      $ ____________
                                                                                           ✔   2.50
                                                                                            100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:        17.4
               401K Merril Lynch                                                                                                 Fla. Stat. Ann. § 222.21 (2)
Brief
description:                                                         $________________
                                                                      1,640.00             
                                                                                           ✔ $ ____________
                                                                                               820.00
                                                                                            100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:          21
               (Security Deposits)                                                                                               Fla. Stat. Ann. § 222.25(4)
Brief
description:
                                                                      1,450.00
                                                                     $________________        725.00
                                                                                           ✔ $ ____________

                                                                                            100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:           22


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                   4
                                                                                                                                                   page ___ of __ 4
                                  Case 8:21-bk-04431-MGW                       Doc 1          Filed 08/26/21            Page 20 of 65

  Fill in this information to identify your case:

  Debtor 1           Michael J Horsley
                     First Name                          Last Name
                                      Middle Name

  Debtor 2            Leah M Horsley
  (Spouse, if filing) First Name           Middle Name
                                                              Last Name



  United States Bankruptcy Court for the: Middle District of Florida

  Case number                                                                                                                                      Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:        List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                       Describe the property that secures the claim: $ 16,750.93             $ 11,000.00       $ 5,750.93

                                                          2018 Hyundai - $11,000.00
        Hyundai Finance
        Creditor’s Name
        PO Box 650805
        Number       Street
                                                         As of the date you file, the claim is: Check all
        Dallas TX          75265                         that apply.
        City      State    ZIP Code
                                                            Contingent
        Who owes the debt? Check one.                       Unliquidated
          Debtor 1 only                                     Disputed
          Debtor 2 only
          Debtor 1 and Debtor 2 only                     Nature of lien. Check all that apply.
          At least one of the debtors and another           An agreement you made (such as mortgage or
                                                            secured car loan)
               Check if this claim relates to a             Statutory lien (such as tax lien, mechanic’s lien)
               community debt                               Judgment lien from a lawsuit
                                                            Other (including a right to offset)
        Date debt was incurred
                                                         Last 4 digits of account number 8064

       Add the dollar value of your entries in Column A on this page. Write that number here:                    $ 16,750.93


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                        Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
                                 Case 8:21-bk-04431-MGW                             Doc 1         Filed 08/26/21            Page 21 of 65

   Fill in this information to identify your case:

                   Michael J Horsley
   Debtor 1
                   First Name                               Last Name
                                         Middle Name

   Debtor 2            Leah M Horsley
   (Spouse, if filing) First Name             Middle Name
                                                                 Last Name



   United States Bankruptcy Court for the: Middle District of Florida

   Case number                                                                                                                                       Check if this is
   (if know)                                                                                                                                         an amended
                                                                                                                                                     filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                   Last 4 digits of account number
         Advanced Orthopedics                                                                                                                                $ 324.02
         Nonpriority Creditor's Name
                                                                        When was the debt incurred?

         5402 Crafts Street                                             As of the date you file, the claim is: Check all that apply.
         Number        Street                                              Contingent
         New Port Richey FL             34654                              Unliquidated
         City                   State   ZIP Code
                                                                           Disputed
         Who owes the debt? Check one.
             Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
             Debtor 2 only                                                Student loans
             Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
             At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community                    debts
             debt                                                         Other. Specify Medical Services
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1 of 13
                  Michael J Horsley & Leah M Horsley
 Debtor          First Name          Case 8:21-bk-04431-MGW
                                    Middle Name   Last Name                   Doc 1         Filed 08/26/21           Page    22 ofknown)
                                                                                                                      Case number(if 65

  4.2                                                            Last 4 digits of account number 9531
          Alltran Financial                                                                                                                $ 3,008.58
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 722929                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Houston TX              77272                             Unliquidated
          City          State     ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                            Last 4 digits of account number 0000
          Andrews FCU                                                                                                                         $ 19.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 4000                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Clinton MD             20735                              Unliquidated
          City        State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Overdrawn Bank Account
          Is the claim subject to offset?
              No
              Yes

  4.4                                                            Last 4 digits of account number
          Andrews FCU                                                                                                                      $ 1,858.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          5711 Allentown Road                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Suite 400                                                 Unliquidated
                                                                    Disputed
          Suitland MD             20746
          City         State      ZIP Code                       Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                            Student loans
              Debtor 1 only                                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              Debtor 2 only
                                                                    Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                            debts
              At least one of the debtors and another              Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                             page 2 of 13
                  Michael J Horsley & Leah M Horsley
 Debtor          First Name          Case 8:21-bk-04431-MGW
                                    Middle Name     Last Name                   Doc 1         Filed 08/26/21           Page    23 ofknown)
                                                                                                                        Case number(if 65

  4.5                                                              Last 4 digits of account number 8758
          Bay Care                                                                                                                            $ 217.60
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 100307                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Atlanta GA             30384                                Unliquidated
          City        State      ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.6                                                              Last 4 digits of account number
          Capital One                                                                                                                         $ 767.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 85015                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Richmond VA               23285                             Unliquidated
          City            State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.7                                                              Last 4 digits of account number
          Capital One                                                                                                                        $ 3,593.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 31293                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Salt Lake City UT              84131                        Unliquidated
          City                   State   ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                             page 3 of 13
                  Michael J Horsley & Leah M Horsley
 Debtor          First Name            Case 8:21-bk-04431-MGW
                                      Middle Name    Last Name                   Doc 1         Filed 08/26/21           Page    24 ofknown)
                                                                                                                         Case number(if 65

  4.8                                                               Last 4 digits of account number
          Capital One                                                                                                                          $ 340.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          PO Box 85015                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Richmond VA                 23285                            Unliquidated
          City            State       ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.9                                                               Last 4 digits of account number
          Capital One                                                                                                                         $ 1,524.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          PO Box 31293                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Salt Lake City UT               84131                        Unliquidated
          City                   State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Chase                                                        Last 4 digits of account number 6738
                                                                                                                                              $ 1,785.37
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          PO Box 15548                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Wilmington DE                19886                           Unliquidated
          City                State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                             page 4 of 13
                  Michael J Horsley & Leah M Horsley
 Debtor          First Name          Case 8:21-bk-04431-MGW
                                    Middle Name   Last Name                   Doc 1         Filed 08/26/21           Page    25 ofknown)
                                                                                                                      Case number(if 65

  4.11 Comenity Bank                                             Last 4 digits of account number
                                                                                                                                           $ 1,017.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 182789                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Columbus OH               43218                           Unliquidated
          City            State     ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.12 DFS                                                       Last 4 digits of account number
                                                                                                                                           $ 3,008.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 81607                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Austin TX            78708                                Unliquidated
          City      State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.13 Disney                                                    Last 4 digits of account number 4221
                                                                                                                                              $ 28.90
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 738                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Neenah WI               54957                             Unliquidated
          City         State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                             page 5 of 13
                  Michael J Horsley & Leah M Horsley
 Debtor          First Name             Case 8:21-bk-04431-MGW
                                       Middle Name   Last Name                   Doc 1         Filed 08/26/21           Page    26 ofknown)
                                                                                                                         Case number(if 65

  4.14 Ginnys                                                       Last 4 digits of account number 2630
                                                                                                                                              $ 276.86
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          1112 7th Avenue                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Monroe WI               53566                                Unliquidated
          City        State       ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.15 Hot Topic                                                    Last 4 digits of account number 5854
                                                                                                                                              $ 741.83
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          PO Box 659584                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          San Antonio TX                 78265                         Unliquidated
          City                 State     ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.16 Kohls                                                        Last 4 digits of account number
                                                                                                                                              $ 591.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          PO Box 3115                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                         Contingent
          Milwaukee WI                 53201                           Unliquidated
          City                State    ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




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                  Michael J Horsley & Leah M Horsley
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  4.17 Military Star                                               Last 4 digits of account number 5365
                                                                                                                                             $ 384.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 650410                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Dallas TX           75265                                   Unliquidated
          City      State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.18 North Shore Agency                                          Last 4 digits of account number 8001
                                                                                                                                               $ 20.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 9205                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Old Bethpage NY                11804                        Unliquidated
          City                   State   ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.19 Old Navy                                                    Last 4 digits of account number 9968
                                                                                                                                             $ 481.05
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 530942                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Atlanta GA             30353                                Unliquidated
          City        State      ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                            page 7 of 13
                  Michael J Horsley & Leah M Horsley
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  4.20 PayPal                                                    Last 4 digits of account number 4900
                                                                                                                                           $ 1,888.54
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 105658                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Atlanta GA             30348                              Unliquidated
          City        State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.21 PC Richard & Son                                          Last 4 digits of account number 9289
                                                                                                                                           $ 1,419.89
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 960061                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Orlando FL              32896                             Unliquidated
          City         State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.22 Portfolio Recovery                                        Last 4 digits of account number 7009
                                                                                                                                           $ 3,120.80
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 12914                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Norfolk VA             23541                              Unliquidated
          City        State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




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                  Michael J Horsley & Leah M Horsley
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                                                                                                                      Case number(if 65

  4.23 Portfolio Recovery                                        Last 4 digits of account number 7554
                                                                                                                                           $ 1,804.55
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 12914                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Norfolk VA             23541                              Unliquidated
          City        State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.24 Premier Community Healthcare                              Last 4 digits of account number 5187
                                                                                                                                              $ 12.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 232                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Dade City FL              33526                           Unliquidated
          City            State     ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.25 Spine and Orthopedic Specialists                          Last 4 digits of account number 4641
                                                                                                                                            $ 141.70
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          2040 Short Avenue #100                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Odessa FL               33556                             Unliquidated
          City         State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                             page 9 of 13
                  Michael J Horsley & Leah M Horsley
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  4.26 TSI                                                         Last 4 digits of account number 6939
                                                                                                                                             $ 6,716.57
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 15110                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Wilmington DE                19850                          Unliquidated
          City                State    ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.27 Universal Fidelity                                          Last 4 digits of account number 0290
                                                                                                                                             $ 1,216.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 941911                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Houston TX              77094                               Unliquidated
          City          State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.28 Universal Fidelity                                          Last 4 digits of account number 8267
                                                                                                                                                $ 30.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 941911                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Houston TX              77094                               Unliquidated
          City          State     ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




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                  Michael J Horsley & Leah M Horsley
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  4.29 Walmart                                                   Last 4 digits of account number 4593
                                                                                                                                                                 $ 1,848.90
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 530927                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Atlanta GA             30353                              Unliquidated
          City        State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        ACI                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                            Line 4.20 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        37 Rust Lane
        Number       Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Boerne TX             78006                                         Claims
        City        State     ZIP Code
                                                                            Last 4 digits of account number 5867


        ARS                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                            Line 4.20 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 469046
        Number       Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Escondido CA               92046                                    Claims
        City             State     ZIP Code
                                                                            Last 4 digits of account number 4467


        Choice Recovery                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                            Line 4.5     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        1550 Old Henderson Road
        Number       Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Suite S                                                             Claims
                                                                            Last 4 digits of account number
        Columbus OH               43220
        City            State     ZIP Code


        Convergent                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                            Line 4.14 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 9004
        Number       Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Renton WA             98057                                         Claims
        City        State     ZIP Code
                                                                            Last 4 digits of account number 0732


        Dynamic                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                            Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 25759
        Number       Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Greenville SC             29616                                     Claims
        City            State     ZIP Code
                                                                            Last 4 digits of account number 7830




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                 Michael J Horsley & Leah M Horsley
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                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Hayt Hayt & Landau
        Creditor’s Name                                                   Line 4.22 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        7765 SW 87th Avenue #101                                                                                Part 2: Creditors with Nonpriority Unsecured
        Number     Street
                                                                          Claims
        Miami FL            33173
        City     State      ZIP Code                                      Last 4 digits of account number 7009


        Hayt Hayt & Landau                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                          Line 4.23 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        7765 SW 87th Avenue #101
        Number     Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Miami FL            33173                                         Claims
        City     State      ZIP Code
                                                                          Last 4 digits of account number 7554


        MRS                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                          Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        1930 Olney Avenue
        Number     Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Cherry Hill NJ           08003                                    Claims
        City             State   ZIP Code
                                                                          Last 4 digits of account number 8746


        Midland                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                          Line 4.11 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2365 Northside Drive
        Number     Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Suite 300                                                         Claims
                                                                          Last 4 digits of account number
        San Diego CA             92108
        City             State   ZIP Code


        NRS                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                          Line 4.21 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        2479 Edison Blvd Unit A
        Number     Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Twinsburg OH             44087                                    Claims
        City           State     ZIP Code
                                                                          Last 4 digits of account number 0003


        Penn Credit                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                          Line 4.14 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 69703
        Number     Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Harrisburg PA            17106                                    Claims
        City             State   ZIP Code
                                                                          Last 4 digits of account number 0630


        Portfolio Recovery                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                          Line 4.29 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 12914
        Number     Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Norfolk VA           23541                                        Claims
        City      State      ZIP Code
                                                                          Last 4 digits of account number 4593


        Portfolio Recovery                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                          Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 12914
        Number     Street                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Norfolk VA           23541                                        Claims
        City      State      ZIP Code
                                                                          Last 4 digits of account number 5854




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                 Michael J Horsley & Leah M Horsley
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                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Secondround
        Creditor’s Name                                                      Line 4.21 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 1259 #137267                                                                                        Part 2: Creditors with Nonpriority Unsecured
        Number     Street
                                                                             Claims
        Oaks PA             19456
        City     State      ZIP Code                                         Last 4 digits of account number 9261


        Simm Associates                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 4.20 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 4115
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Concord CA            94524                                          Claims
        City        State     ZIP Code
                                                                             Last 4 digits of account number 2481


        Windham                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                             Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        380 Main Street
        Number     Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Salem NH            03079                                            Claims
        City     State      ZIP Code
                                                                             Last 4 digits of account number 1586

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                             Total claim

   Total claims          6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                         6b. Taxes and certain other debts you owe the                             6b.   $ 0.00
                         government
                         6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                             intoxicated
                         6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                             amount here.
                         6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                          $ 0.00



                                                                                                             Total claim

   Total claims          6f. Student loans                                                         6f.   $ 0.00
   from Part 2
                         6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                             divorce that you did not report as priority claims
                         6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                             similar debts
                         6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 38,184.16
                             amount here.
                         6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                          $ 38,184.16




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  Fill in this information to identify your case:

  Debtor 1
                     Michael J Horsley
                         First Name                              Last Name
                                            Middle Name

  Debtor 2           Leah M Horsley
  (Spouse, if filing) First Name                 Middle Name
                                                                       Last Name



  United States Bankruptcy Court for the: Middle District of Florida

  Case number                                                                                                                         Check if this is
  (if know)                                                                                                                           an amended
                                                                                                                                      filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                           State what the contract or lease is for

 2.1                                                                                        Residential Lease
          AD2 Capital LLC
          Name
          .
          Street
          .          .           .
          City       State       ZIP Code




Official Form 106G                                             Schedule G: Executory Contracts and Unexpired Leases                           page 1 of 1
                               Case 8:21-bk-04431-MGW                         Doc 1        Filed 08/26/21              Page 35 of 65

Fill in this information to identify your case:

Debtor 1
                 Michael J Horsley
                  First Name                         Last Name
                                  Middle Name

Debtor 2           Leah M Horsley
(Spouse, if filing) First Name         Middle Name
                                                          Last Name



United States Bankruptcy Court for the: Middle District of Florida

Case number                                                                                                                                Check if this is
(if know)                                                                                                                                  an amended
                                                                                                                                           filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                                                                                              Check all schedules that apply:
3.1     Timothy D. Cooksie                                                                        Schedule D, line 2.1
        Name                                                                                      Schedule E/F, line
        7266 Sealawn Drive                                                                        Schedule G, line
        Street
        Spring Hill                                              FL       34606
        City                                                     State    ZIP Code




Official Form 106H                                                       Schedule H: Your Codebtors                                               page 1 of 1
                                  Case 8:21-bk-04431-MGW                  Doc 1        Filed 08/26/21            Page 36 of 65

 Fill in this information to identify your case:

                      Michael J Horsley
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2
                      Leah M Horsley
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________
                                          Middle District of Florida District
                                                                                   tate)
 Case number         ___________________________________________                                       Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
                                                                                                          ________________
Official Form 106I                                                                                        MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                            Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                                                                         ✔
    information about additional         Employment status                Employed                                        Employed
    employers.                                                           
                                                                         ✔ Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                                                                        Bank of America
                                         Employer’s name               __________________________________            __________________________________


                                         Employer’s address            _______________________________________        Savarese Circle
                                                                                                                   ________________________________________
                                                                        Number Street                               Number    Street

                                                                       _______________________________________     ________________________________________

                                                                       _______________________________________     ________________________________________

                                                                       _______________________________________         Tampa, FL
                                                                                                                   ________________________________________
                                                                        City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                           ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.           2.            0.00               3,398.93
                                                                                                 $___________           $____________

 3. Estimate and list monthly overtime pay.                                                3.   + $___________
                                                                                                          0.00      +            0.00
                                                                                                                        $____________


 4. Calculate gross income. Add line 2 + line 3.                                           4.            0.00
                                                                                                 $__________                3,398.93
                                                                                                                        $____________




Official Form 106I                                                 Schedule I: Your Income                                                      page 1
                 Michael
                                Case 8:21-bk-04431-MGW
                          J Horsley & Leah M Horsley
                                                                                            Doc 1            Filed 08/26/21             Page 37 of 65
Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.            0.00
                                                                                                                          $___________                3,398.93
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________                  472.38
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                   32.64
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________                   32.64
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________                  113.07
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
                                     HSA
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +          38.46
                                                                                                                                                  $_____________
     GU Offset
    _____________________________________________________________                                                        $____________            $____________
                                                                                                                                                           9.54
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________                  698.73
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.            0.00
                                                                                                                         $____________                2,700.20
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.        1,996.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        1,996.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            1,996.00
                                                                                                                         $___________     +           2,700.20
                                                                                                                                                  $_____________      =      4,696.20
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             4,696.20
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
                                   Case 8:21-bk-04431-MGW                     Doc 1            Filed 08/26/21           Page 38 of 65

  Fill in this information to identify your case:

                     Michael J Horsley
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
                      Leah M Horsley
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Middle District of Florida
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________     District of __________                      expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

    No. Go to line 2.
   
   ✔ Yes. Does Debtor 2 live in a separate household?
                No
               
               ✔ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Son                                      17            No
                                                                                          _________________________                ________
   names.                                                                                                                                        
                                                                                                                                                 ✔ Yes
                                                                                           Son                                      19           ✔ No
                                                                                                                                                 
                                                                                          _________________________                ________
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                              No
   yourself and your dependents?              Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,300.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      30.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                      0.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                              page 1
                                Case 8:21-bk-04431-MGW                     Doc 1        Filed 08/26/21      Page 39 of 65

                    Michael J Horsley & Leah M Horsley
 Debtor 1          _______________________________________________________                     Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                          Your expenses

                                                                                                                         $_____________________
                                                                                                                                          0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                    5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                      6a.    $_____________________
                                                                                                                                       200.00
        6b.   Water, sewer, garbage collection                                                                    6b.    $_____________________
                                                                                                                                        55.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                      6c.    $_____________________
                                                                                                                                       520.00
        6d.   Other. Specify: _______________________________________________                                     6d.    $_____________________
                                                                                                                                          0.00
 7. Food and housekeeping supplies                                                                                7.     $_____________________
                                                                                                                                       300.00
 8. Childcare and children’s education costs                                                                      8.     $_____________________
                                                                                                                                          0.00
 9. Clothing, laundry, and dry cleaning                                                                           9.     $_____________________
                                                                                                                                        50.00
10.    Personal care products and services                                                                        10.    $_____________________
                                                                                                                                        60.00
11.    Medical and dental expenses                                                                                11.    $_____________________
                                                                                                                                        50.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                         $_____________________
                                                                                                                                       170.00
       Do not include car payments.                                                                               12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                        13.    $_____________________
                                                                                                                                          0.00
14.     Charitable contributions and religious donations                                                          14.    $_____________________
                                                                                                                                          0.00
                                                                                                                                                        1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                       15a.   $_____________________
                                                                                                                                          0.00
        15b. Health insurance                                                                                     15b.   $_____________________
                                                                                                                                          0.00
        15c. Vehicle insurance                                                                                    15c.   $_____________________
                                                                                                                                       461.00
        15d. Other insurance. Specify:_______________________________________                                     15d.   $_____________________
                                                                                                                                          0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                         16.
                                                                                                                                         0.00
                                                                                                                         $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                           17a.   $_____________________
                                                                                                                                          0.00
        17b. Car payments for Vehicle 2                                                                           17b.   $_____________________
                                                                                                                                          0.00
        17c. Other. Specify:_______________________________________________                                       17c.   $_____________________
                                                                                                                                          0.00
        17d. Other. Specify:_______________________________________________                                       17d.   $_____________________
                                                                                                                                          0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                           18.                    0.00
                                                                                                                         $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                             19.
                                                                                                                                          0.00
                                                                                                                         $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                          20a.   $_____________________
                                                                                                                                          0.00
        20b. Real estate taxes                                                                                    20b.   $_____________________
                                                                                                                                          0.00
        20c. Property, homeowner’s, or renter’s insurance                                                         20c.   $_____________________
                                                                                                                                          0.00
        20d. Maintenance, repair, and upkeep expenses                                                             20d.   $_____________________
                                                                                                                                          0.00
        20e. Homeowner’s association or condominium dues                                                          20e.   $_____________________
                                                                                                                                          0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                     page 2
                               Case 8:21-bk-04431-MGW                   Doc 1        Filed 08/26/21              Page 40 of 65

                   Michael J Horsley & Leah M Horsley
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                               0.00
                                                                                                                    21.   +$_____________________
______________________________________________________________________________________                                    +$_____________________
______________________________________________________________________________________                                    +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                               22a.                3,196.00
                                                                                                                           $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a     22b.                2,885.00
                                                                                                                           $_____________________

        and 22b. The result is your monthly expenses.                                                              22c.                6,081.00
                                                                                                                           $_____________________


23. Calculate your monthly net income.
                                                                                                                                        4,696.20
                                                                                                                            $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

      23b.   Copy your monthly expenses from line 22c above.                                                       23b.                 6,081.00
                                                                                                                          – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  -1,384.80
                                                                                                                            $_____________________
             The result is your monthly net income.                                                                23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                                   Case 8:21-bk-04431-MGW                 Doc 1             Filed 08/26/21          Page 41 of 65

  Fill in this information to identify your case:

                     Michael J Horsley
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name             Last Name                          Check if this is:
                      Leah M Horsley
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                          An amended filing
                                          Middle District of Florida
                                                                                                          A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                      expenses as of the following date:
                                                                                  (State)
                                                                                                             ________________
  Case number         ___________________________________________                                            MM / DD / YYYY
  (If known)




Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2                                                                                                12/15

Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

Part 1:             Describe Your Household

1. Do you and Debtor 1 maintain separate households?

            No. Do not complete this form.
   
   ✔         Yes

2. Do you have dependents?                     No                                    Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 but list all       
                                           ✔    Yes. Fill out this information for Debtor 2:                                   age           with you?
   other dependents of Debtor 2                 each dependent..........................
   regardless of whether listed as a
                                                                                       Son                                      17           
                                                                                                                                             ✔     No
   dependent of Debtor 1 on                                                           _________________________                ________
                                                                                                                                                  Yes
   Schedule J.
                                                                                      Son
                                                                                      _________________________                 19
                                                                                                                               ________           No
   Do not state the dependents’
   names.                                                                                                                                    
                                                                                                                                             ✔     Yes

                                                                                      _________________________                ________           No
                                                                                                                                                  Yes

                                                                                      _________________________                ________           No
                                                                                                                                                  Yes

                                                                                      _________________________                ________           No
                                                                                                                                                  Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself, your dependents, and              Yes
   Debtor 1?

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                             Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                  500.00
                                                                                                                                 $_____________________
     any rent for the ground or lot.                                                                                     4.

     If not included in line 4:
                                                                                                                                                    0.00
     4a.    Real estate taxes                                                                                            4a.     $_____________________
                                                                                                                                                    0.00
     4b.    Property, homeowner’s, or renter’s insurance                                                                 4b.     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                4c.
                                                                                                                                                  100.00
                                                                                                                                 $_____________________
     4d.    Homeowner’s association or condominium dues                                                                  4d.
                                                                                                                                                 0.00
                                                                                                                                 $_____________________

  Official Form 106J-2                                        Schedule J-2: Expenses for Separate Household of Debtor 2                              page 1
                                 Case 8:21-bk-04431-MGW                     Doc 1       Filed 08/26/21        Page 42 of 65

                      Michael J Horsley & Leah M Horsley
 Debtor 1           _______________________________________________________                      Case number (if known)_____________________________________
                    First Name     Middle Name        Last Name




                                                                                                                            Your expenses

                                                                                                                           $_____________________
                                                                                                                                            0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                      5.


 6. Utilities:

        6a.    Electricity, heat, natural gas                                                                       6a.    $_____________________
                                                                                                                                            0.00
        6b.    Water, sewer, garbage collection                                                                     6b.    $_____________________
                                                                                                                                            0.00
        6c.    Telephone, cell phone, Internet, satellite, and cable services                                       6c.    $_____________________
                                                                                                                                            0.00
        6d.    Other. Specify: _______________________________________________                                      6d.    $_____________________
                                                                                                                                            0.00
 7. Food and housekeeping supplies                                                                                  7.     $_____________________
                                                                                                                                         400.00
 8. Childcare and children’s education costs                                                                        8.     $_____________________
                                                                                                                                            0.00
 9. Clothing, laundry, and dry cleaning                                                                             9.     $_____________________
                                                                                                                                           40.00
10.    Personal care products and services                                                                          10.    $_____________________
                                                                                                                                         620.00
11.    Medical and dental expenses                                                                                  11.    $_____________________
                                                                                                                                           60.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                           $_____________________
                                                                                                                                         640.00
       Do not include car payments.                                                                                 12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                          13.    $_____________________
                                                                                                                                            0.00
14.     Charitable contributions and religious donations                                                            14.    $_____________________
                                                                                                                                            0.00
                                                                                                                                                          16.
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                         15a.                    0.00
                                                                                                                           $_____________________
        15b. Health insurance                                                                                       15b.   $_____________________
                                                                                                                                            0.00
        15c. Vehicle insurance                                                                                      15c.   $_____________________
                                                                                                                                         455.00
        15d. Other insurance. Specify:_______________________________________                                       15d.   $_____________________
                                                                                                                                            0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                           16.
                                                                                                                                            0.00
                                                                                                                           $_____________________

17.    Installment or lease payments:
        17a. Car payments for Vehicle 1                                                                             17a.   $_____________________
                                                                                                                                            0.00
        17b. Car payments for Vehicle 2                                                                             17b.   $_____________________
                                                                                                                                            0.00
        17c.
                                Ashworth College
               Other. Specify:_______________________________________________                                       17c.   $_____________________
                                                                                                                                           70.00
        17d. Other. Specify:_______________________________________________                                         17d.                    0.00
                                                                                                                           $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                             18.                    0.00
                                                                                                                           $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                               19.
                                                                                                                                            0.00
                                                                                                                           $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                            20a.   $_____________________
                                                                                                                                            0.00
        20b. Real estate taxes                                                                                      20b.   $_____________________
                                                                                                                                            0.00
        20c. Property, homeowner’s, or renter’s insurance                                                           20c.   $_____________________
                                                                                                                                            0.00
        20d. Maintenance, repair, and upkeep expenses                                                               20d.   $_____________________
                                                                                                                                            0.00
        20e. Homeowner’s association or condominium dues                                                            20e.   $_____________________
                                                                                                                                            0.00


      Official Form 106J-2                                        Schedule J-2: Expenses for Separate Household of Debtor 2                      page 2
                              Case 8:21-bk-04431-MGW                             Doc 1   Filed 08/26/21        Page 43 of 65

                  Michael J Horsley & Leah M Horsley
 Debtor 1        _______________________________________________________                          Case number (if known)_____________________________________
                 First Name      Middle Name           Last Name




21.    Other. Specify:______________________________________________________________________                        21.                     0.00
                                                                                                                           +$_____________________
______________________________________________________________________________________                                     +$_____________________
                                                                                                                           +$_____________________
______________________________________________________________________________________

22. Your monthly expenses. Add lines 5 through 21.
The result is the monthly expenses of Debtor 2. Copy the result to line 22b of
Schedule J to calculate the total expenses for Debtor 1 and Debtor 2.
                                                                                                                     22.                2,885.00
                                                                                                                            $_____________________
23. Line not used on this form.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      ✔   No.
         Yes.     Explain here:




      Official Form 106J-2                                         Schedule J-2: Expenses for Separate Household of Debtor 2                      page 3
                                      Case 8:21-bk-04431-MGW                    Doc 1       Filed 08/26/21               Page 44 of 65

Fill in this information to identify your case:

Debtor 1           Michael J Horsley
                  __________________________________________________________________
                    First Name               Middle Name            Last Name

Debtor 2           Leah  M Horsley
                   ________________________________________________________________
(Spouse, if filing) First Name               Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:Middle District of Florida District of __________
                                                                                 (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Michael J Horsley
          ______________________________________________           _____________________________
                                                                     /s/ Leah M Horsley
         Signature of Debtor 1                                         Signature of Debtor 2


              08/26/2021
         Date _________________                                              08/26/2021
                                                                       Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
                                 Case 8:21-bk-04431-MGW                                Doc 1        Filed 08/26/21                 Page 45 of 65


 Fill in this information to identify your case:

                    Michael J Horsley
 Debtor 1
                    First Name          Middle Name           Last Name

 Debtor 2            Leah M Horsley
 (Spouse, if filing) First Name           Middle Name           Last Name



 United States Bankruptcy Court for the: Middle District of Florida

 Case number
 (if know)                                                                                                                                                      Check if this is
                                                                                                                                                                an amended
                                                                                                                                                                filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:      Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                            Debtor 1                                               Debtor 2

                                                                            Sources of income           Gross income               Sources of income         Gross income
                                                                            Check all that apply        (before deductions         Check all that apply      (before deductions
                                                                                                        and exclusions)                                      and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                             Wages,               $                                 Wages,              $ 18,768.34
                                                                               commissions,                                           commissions,
                                                                               bonuses, tips                                          bonuses, tips
                                                                               Operating a business                                   Operating a business


         For last calendar year:
                                                                               Wages,               $                                 Wages,              $ 39,235.00
         (January 1 to December 31, 2020                                       commissions,                                           commissions,
                                                                               bonuses, tips                                          bonuses, tips
                                                                               Operating a business                                   Operating a business


         For the calendar year before that:
                                                                               Wages,               $                                 Wages,              $ 31,295.00
         (January 1 to December 31, 2019                                       commissions,                                           commissions,
                                                                               bonuses, tips                                          bonuses, tips
                                                                               Operating a business                                   Operating a business



Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1 of 6
                               Case 8:21-bk-04431-MGW                                Doc 1          Filed 08/26/21                 Page 46 of 65
Debtor          Michael J Horsley & Leah M Horsley                                                                                 Case number(if known)
               First Name     Middle Name       Last Name




5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                         Debtor 1                                                                  Debtor 2

                                         Sources of income                     Gross income from each              Sources of income                  Gross income from each
                                         Describe below.                       source                              Describe below.                    source
                                                                               (before deductions and                                                 (before deductions and
                                                                               exclusions)                                                            exclusions)
  From January 1 of
  current year until the                    Retirement                          $ 11,196.54
  date you filed for
  bankruptcy:
  For last calendar year:
                                            Retirement                          $ 22,672.00
  (January 1 to December
  31, 2020
  For the calendar year
  before that:                              Retirement                          $ 21,794.00

  (January 1 to December
  31, 2019


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.



Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2 of 6
                               Case 8:21-bk-04431-MGW                             Doc 1          Filed 08/26/21                 Page 47 of 65
Debtor          Michael J Horsley & Leah M Horsley                                                                              Case number(if known)
               First Name     Middle Name    Last Name




 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.

17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3 of 6
                               Case 8:21-bk-04431-MGW                            Doc 1          Filed 08/26/21                 Page 48 of 65
Debtor         Michael J Horsley & Leah M Horsley                                                                              Case number(if known)
              First Name      Middle Name   Last Name




19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:       List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:       Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:       Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:       Give Details About Your Business or Connections to Any Business




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 4 of 6
                             Case 8:21-bk-04431-MGW                             Doc 1          Filed 08/26/21                 Page 49 of 65
Debtor         Michael J Horsley & Leah M Horsley                                                                             Case number(if known)
              First Name    Middle Name    Last Name




27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 5 of 6
                                  Case 8:21-bk-04431-MGW                            Doc 1          Filed 08/26/21                 Page 50 of 65
Debtor         Michael J Horsley & Leah M Horsley                                                                                 Case number(if known)
              First Name         Middle Name   Last Name




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Michael J Horsley                                                 /s/ Leah M Horsley
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 08/26/2021                                                       Date 08/26/2021

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6 of 6
                                  Case 8:21-bk-04431-MGW                              Doc 1          Filed 08/26/21              Page 51 of 65


  Fill in this information to identify your case:

                     Michael J Horsley
   Debtor 1
                     First Name          Middle Name            Last Name

   Debtor 2            Leah M Horsley
   (Spouse, if filing) First Name          Middle Name            Last Name



   United States Bankruptcy Court for the: Middle District of Florida

   Case number
   (if known)
                                                                                                                                                              Check if this is
                                                                                                                                                              an amended
                                                                                                                                                              filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                          12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever
is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and
date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:      List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                         Surrender the property.                              No
   name:             Hyundai Finance
                                                                                      Retain the property and redeem it.                   Yes
   Description of 2018 Hyundai                                                        Retain the property and enter into a
   property
                                                                                      Reaffirmation Agreement.
   securing debt:
                                                                                      Retain the property and [explain]:




 Part 2:      List Your Unexpired Personal Property Leases


   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
   in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
   You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
     Describe your unexpired personal property leases                                                                            Will the lease be assumed?
   Lessor's                                                                                                                        No
   name:             AD2 Capital LLC
                                                                                                                                   Yes
   Description of leased
   property: Residential Lease




 Official Form 108                                               Statement of Intention for Individuals Filing Under Chapter 7                                       page 1 of 2
                               Case 8:21-bk-04431-MGW                   Doc 1          Filed 08/26/21              Page 52 of 65
Debtor        Michael J Horsley & Leah M Horsley                                                                   Case number(if known)



Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ Michael J Horsley
       Signature of Debtor 1                                                   /s/ Leah M Horsley
                                                                                 Signature of Debtor 2
     Date 08/26/2021
            MM/DD/YYYY                                                         Date 08/26/2021
                                                                                       MM/DD/YYYY




Official Form 108                                  Statement of Intention for Individuals Filing Under Chapter 7                           page 2 of 2
                                  Case 8:21-bk-04431-MGW                          Doc 1       Filed 08/26/21        Page 53 of 65
 Fill in this information to identify your case:                                                         Check one box only as directed in this form and in
                                                                                                         Form 122A-1Supp:
 Debtor 1         Michael  J Horsley
                  __________________________________________________________________
                     First Name                 Middle Name                   Last Name

                    Leah  M Horsley
                                                                                                         
                                                                                                         ✔   1. There is no presumption of abuse.
 Debtor 2           ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name                  Last Name                      2. The calculation to determine if a presumption of
                                                                                                                abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________
                                         Middle DistrictDistrict of _______________
                                                         of Florida                                             Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                             3. The Means Test does not apply now because of
 (If known)
                                                                                                                qualified military service but it could apply later.


                                                                                                          Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
        
        ✔     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

             Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A             Column B
                                                                                                           Debtor 1             Debtor 2 or
                                                                                                                                non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                        0.00
                                                                                                             $_________            3,398.92
                                                                                                                                  $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                  0.00
                                                                                                             $_________            0.00
                                                                                                                                  $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                0.00
                                                                                                             $_________            0.00
                                                                                                                                  $__________

   5. Net income from operating a business, profession,
                                                        Debtor 1                           Debtor 2
      or farm
      Gross receipts (before all deductions)              0.00
                                                        $______                              0.00
                                                                                            $______
        Ordinary and necessary operating expenses                           0.00
                                                                         – $______           0.00
                                                                                          – $______
                                                                                                       Copy
      Net monthly income from a business, profession, or                     0.00
                                                                           $______          0.00
                                                                                           $______     here0.00
                                                                                                            $_________             0.00
                                                                                                                                  $__________
      farm
   6. Net income from rental and other real property                        Debtor 1       Debtor 2
      Gross receipts (before all deductions)                                 0.00
                                                                            $______         0.00
                                                                                           $______
        Ordinary and necessary operating expenses                           0.00
                                                                         – $______           0.00
                                                                                          – $______
                                                                                                      Copy
        Net monthly income from rental or other real property               $______         0.00
                                                                                           $______          0.00
                                                                                                      here$_________
                                                                                                                                   0.00
                                                                                                                                  $__________
  7. Interest, dividends, and royalties                                                                       0.00
                                                                                                             $_________            0.00
                                                                                                                                  $__________



Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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Debtor 1          Michael  J Horsley
                  _______________________________________________________                                                    Case number (if known)_____________________________________
                  First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                        0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
           For you ..................................................................................     0.00
                                                                                                        $______________
           For your spouse ..................................................................             0.00
                                                                                                        $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                                                             1,996.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniforces. If
       necessary, list other sources on a separate page and put the total below.

       ______________________________________                                                                                          0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
       ______________________________________                                                                                          0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________

       Total amounts from separate pages, if any.                                                                                + $_________
                                                                                                                                    0.00                       + $___________
                                                                                                                                                                   0.00


   11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                   1,996.00             +        3,398.92          =    5,394.92
       column. Then add the total for Column A to the total for Column B.                                                            $_________                   $___________            $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income
   Part 2:          Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.      Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here        $__________
                                                                                                                                                                                        5,394.92

                 Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.      The result is your annual income for this part of the form.                                                                                                   12b.     64,739.04
                                                                                                                                                                                      $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                                   FL

       Fill in the number of people in your household.                                                  2

                                                                                                                                                                                        66,748.00
                                                                                                                                                                                      $__________
       Fill in the median family income for your state and size of household. ................................................................................................. 13.
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
       14a. 
                     Go to Part 3. Do NOT fill out or file Official Form 122A-2.


       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.


Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
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Debtor 1     Michael  J Horsley
             _______________________________________________________                              Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Michael J Horsley
                   __________________________________________________________                   ______________________________________
                                                                                                 /s/ Leah M Horsley
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       08/26/2021
                  Date _________________                                                              08/26/2021
                                                                                                 Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
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ACI                                          Comenity Bank
37 Rust Lane                                 PO Box 182789
Boerne, TX 78006                             Columbus, OH 43218


AD2 Capital LLC                              Convergent
                                             PO Box 9004
                                             Renton, WA 98057
Advanced Orthopedics
5402 Crafts Street
New Port Richey, FL 34654                    DFS
                                             PO Box 81607
                                             Austin, TX 78708
Alltran Financial
PO Box 722929
Houston, TX 77272                            Disney
                                             PO Box 738
                                             Neenah, WI 54957
Andrews FCU
PO Box 4000
Clinton, MD 20735                            Dynamic
                                             PO Box 25759
                                             Greenville, SC 29616
Andrews FCU
5711 Allentown Road
Suite 400                                    Ginnys
Suitland, MD 20746                           1112 7th Avenue
                                             Monroe, WI 53566

ARS
PO Box 469046                                Hayt Hayt & Landau
Escondido, CA 92046                          7765 SW 87th Avenue #101
                                             Miami, FL 33173

Bay Care
PO Box 100307                                Hot Topic
Atlanta, GA 30384                            PO Box 659584
                                             San Antonio, TX 78265

Capital One
PO Box 85015                                 Hyundai Finance
Richmond, VA 23285                           PO Box 650805
                                             Dallas, TX 75265

Capital One
PO Box 31293                                 Kohls
Salt Lake City, UT 84131                     PO Box 3115
                                             Milwaukee, WI 53201

Chase
PO Box 15548                                 Midland
Wilmington, DE 19886                         2365 Northside Drive
                                             Suite 300
                                             San Diego, CA 92108
Choice Recovery
1550 Old Henderson Road
Suite S                                      Military Star
Columbus, OH 43220                           PO Box 650410
                                             Dallas, TX 75265
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MRS                                          Timothy D. Cooksie
1930 Olney Avenue                            7266 Sealawn Drive
Cherry Hill, NJ 08003                        Spring Hill, FL 34606


North Shore Agency                           TSI
PO Box 9205                                  PO Box 15110
Old Bethpage, NY 11804                       Wilmington, DE 19850


NRS                                          Universal Fidelity
2479 Edison Blvd Unit A                      PO Box 941911
Twinsburg, OH 44087                          Houston, TX 77094


Old Navy                                     Walmart
PO Box 530942                                PO Box 530927
Atlanta, GA 30353                            Atlanta, GA 30353


PayPal                                       Windham
PO Box 105658                                380 Main Street
Atlanta, GA 30348                            Salem, NH 03079


PC Richard & Son
PO Box 960061
Orlando, FL 32896


Penn Credit
PO Box 69703
Harrisburg, PA 17106


Portfolio Recovery
PO Box 12914
Norfolk, VA 23541


Premier Community Healthcare
PO Box 232
Dade City, FL 33526


Secondround
PO Box 1259 #137267
Oaks, PA 19456


Simm Associates
PO Box 4115
Concord, CA 94524


Spine and Orthopedic Specialists
2040 Short Avenue #100
Odessa, FL 33556
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                             United States Bankruptcy Court
                             Middle District of Florida




         Michael J Horsley & Leah M Horsley
In re:                                                         Case No.

                                                               Chapter    7
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              08/26/2021                         /s/ Michael J Horsley
Date:
                                                Signature of Debtor

                                                 /s/ Leah M Horsley
                                                Signature of Joint Debtor
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                    A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                                together—called a joint case. If you file a joint
                                                                    case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                        address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                    bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The                   your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do                you file a statement with the court asking that
    not file this information within the deadlines set by           each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                    Understand which services you
    their deadlines, go to:                                         could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms                  counseling agencies

                                                                    The law generally requires that you receive a
                                                                    credit counseling briefing from an approved
                                                                    credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                    If you are filing a joint case, both spouses must
consequences
                                                                    receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                     you must receive it within the 180 days before
      assets or make a false oath or statement                      you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                     is usually conducted by telephone or on the
      in writing—in connection with a                               Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                          In addition, after filing a bankruptcy case, you
                                                                    generally must complete a financial
      All information you supply in connection                     management instructional course before you
      with a bankruptcy case is subject to                          can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                    case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                        You can obtain the list of agencies approved to
      offices and employees of the U.S.                             provide both the briefing and the instructional
      Department of Justice.                                        course from: http://www.uscourts.gov/services-
                                                                    forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                        education-courses.
mailing address                                                     In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                           http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                      forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                     debtor-education-courses.
Form 101). To ensure that you receive
                                                                    If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                    clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                    help you obtain the list.
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 4
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                                      United States Bankruptcy Court
                                                                Middle District of Florida
                                               __________________________________
     In re   Michael J Horsley & Leah M Horsley

                                                                                                             Case No. _______________

    Debtor                                                                                                    Chapter________________
                                                                                                                      7



                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         1,150.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 1,150.00


          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00


     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Services subsequent to 341 meeting, except compliance related services
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                                      CERTIFICATION
 I certify that the foregoing is a complete statement of any agreement or arrangement for
     payment to me for representation of the debtor(s) in this bankruptcy proceeding.

_____________________
  08/26/2021
                                  _________________________________________
                                   /s/ Cedric Hay, 0722510

Date                                    Signature of Attorney
                                  _________________________________________
                                   Cedric Hay

                                       ​Name of law firm
                                   12300 Us Hwy 19
                                   Hudson, FL 34667
                                   (727) 868-2306
                                   cphay@beilandhay.com
